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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                    11/15/2021


  Victor Campbell,

                        Plaintiff,
                                                                              21-cv-4056 (AJN)
                –v–
                                                                                   ORDER
  City of New York et al.,

                        Defendants.



ALISON J. NATHAN, District Judge:

       The Court on September 10, 2021, ordered the parties to file a status update by

November 8, 2021. Dkt. No. 15. The Court is not in receipt of any update. The parties shall file

a status update by November 19, 2021.


       SO ORDERED.

Dated: November 15, 2021                         __________________________________
       New York, New York                                ALISON J. NATHAN
                                                       United States District Judge
